Case 8:19-cv-02212-JLS-JDE Document 51 Filed 10/02/20 Page 1 of 6 Page ID #:388




   1
   2
   3
   4
   5
   6
   7
   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
  10
  11   A.I.P., a Minor, by and through his
                                        )          Case No.: 8:19-CV-02212-JLS (JDEx)
       guardian Ad Litem ROSA MARIA     )
  12   MONTES, individually and as heir-at-
                                        )          PROTECTIVE ORDER
       law and Successor in Interest to )          COVERING ORANGE COUNTY
  13   ARTURO PADILLA, JR. ARACELY      )          DISTRICT ATTORNEY’S OFFICE
       PADILLA, and ARTURO PADILLA,     )          INVESTIGATIVE REPORT AND
  14                                    )          OTHER INVESTIGATIVE
                  Plaintiffs,           )          MATERIALS
  15                                    )
              vs.                       )          [Note Changes by the Court]
  16                                    )
       CITY OF SANTA ANA,               )
  17   CHRISTOPHER SHYNN, DAVID         )
       VALENTIN and DOES 1 through 100, )
  18   inclusive,                       )
                                        )
  19              Defendants.           )
                                        )
  20                                    )
                                        )
  21
  22         IT IS HEREBY FOUND and ORDERED, for good cause shown in the
  23   parties’ Stipulation (Dkt. 50), which superseded a prior Stipulation (Dkt. 49), as
  24   follows.
  25         Protected Documents shall be subject to this Protective Order as follows.
  26         1.     All documents produced by the City of Santa Ana that compromise
  27   the Protected Documents will be clearly designated as “CONFIDENTIAL” and be
  28                                          -1-
             PROTECTIVE ORDER COVERING ORANGE COUNTY DISTRICT
              ATTORNEY’S OFFICE INVESTIGATIVE REPORT AND OTHER
                              INVESTIGATIVE MATERIALS
Case 8:19-cv-02212-JLS-JDE Document 51 Filed 10/02/20 Page 2 of 6 Page ID #:389




   1   placed in an envelope labeled as such prior to the disclosure. The
   2   “CONFIDENTIAL” designation shall be placed on the printed pages of the
   3   Protected Documents in a manner that does not overwrite or make illegible the text
   4   of the document.
   5         2.     Each person receiving any of the Protected Documents shall not
   6   disclose to any person or entity, in any manner, including orally, any of the
   7   Protected Documents or any of the information contained therein, except when
   8   used for purposes of this litigation pursuant to this protective order.
   9         3.     The Protected Documents and all information contained therein, may
  10   only be disclosed to the following “qualified” persons:
  11         (a)    Counsel of record for the parties to this civil litigation;
  12         (b)    Defendant City of Santa Ana and its employees, including, but not
  13   limited to Officer Christopher Shynn and Chief David Valentin;
  14         (c)    Paralegal, stenographic, clerical and secretarial personnel regularly
  15   employed by counsel referred to in subparagraph (a), and investigators, expert
  16   witnesses and other persons legitimately involved in litigation-related activities for
  17   the counsel of record; and
  18         (d)    Court personnel, including stenographic reporters engaged in such
  19   proceedings as are necessarily incidental to preparation for the trial of this action.
  20         (e)    With the exception of the Court and court personnel (who are subject
  21   only to the Court’s internal procedures regarding the handling of material filed or
  22   lodged, including material filed or lodged under seal), all persons receiving a copy
  23   of the Protected Documents shall, before receiving such protected information, be
  24   given a copy of this Protective Order and a compliance agreement (in the form
  25   attached as Exhibit “A” to this Order) and shall execute the compliance agreement,
  26   and return the original of the compliance agreement to the attorney who gives
  27   him/her the protected information. It shall be the responsibility of the respective
  28                                           -2-
            PROTECTIVE ORDER COVERING ORANGE COUNTY DISTRICT
             ATTORNEY’S OFFICE INVESTIGATIVE REPORT AND OTHER
                                INVESTIGATIVE MATERIALS
Case 8:19-cv-02212-JLS-JDE Document 51 Filed 10/02/20 Page 3 of 6 Page ID #:390




   1   attorneys to distribute compliance agreements, and then collect and maintain
   2   custody of the executed originals of the compliance agreements.
   3         4.     To the extent any portion of the Protected Documents contains an
   4   audio recording, transcript and/or summary of a statement and/or report given to
   5   the OCDA by an independent witness who does not fall within one of the
   6   categories described in Paragraph 3 above, that selected portion of the Protected
   7   Documents may be provided to the particular witness to which it pertains.
   8         5.     The Protected Documents may be disclosed to the Court and court
   9   personnel, in connection with this litigation. Portions of the Protected Documents
  10   that a party intends to use in support of or in opposition to a pre-trial filing with the
  11   Court must be filed in accordance with the Central District of California Local
  12   Rules relating to under seal filings, including Local Rule 79-5. Counsel intending
  13   to use documents from Protected Documents must both (a) apply to submit
  14   unredacted documents containing any portion of the Protected Documents under
  15   seal and (b) file public versions of the same documents with the information from
  16   the Protected Documents redacted.
  17         6.     In the event this matter proceeds to trial, to the extent that any of the
  18   Protected Documents are offered into evidence, those documents will become
  19   public, unless sufficient cause is shown in advance of trial to proceed otherwise.
  20   Trial procedures will be governed by the trial judge and nothing in this Order
  21   controls the handling of materials at trial.
  22         7.     The court reporter, videographer, and audiographer, if any, who
  23   record all or part of any future deposition(s) in this matter, which include the
  24   Protected Documents or descriptions thereof, shall be subject to this Order and
  25   precluded from providing any portions of the original deposition videotape,
  26   audiotape, or exhibits which relate to the Protected Documents or information to
  27   any persons other than counsel of record, absent order of the court.
  28                                           -3-
            PROTECTIVE ORDER COVERING ORANGE COUNTY DISTRICT
             ATTORNEY’S OFFICE INVESTIGATIVE REPORT AND OTHER
                               INVESTIGATIVE MATERIALS
Case 8:19-cv-02212-JLS-JDE Document 51 Filed 10/02/20 Page 4 of 6 Page ID #:391




   1          8.     Those attending any future deposition(s) shall, upon execution of
   2   Exhibit A, be bound by this Order and, therefore, shall not disclose to any person
   3   or entity, in any manner, including orally, any documents from the Protected
   4   Documents made by such person during the course of said depositions.
   5          9.     At any future deposition(s), should there be persons in attendance
   6   who are not authorized to access to the Protected Documents or information, such
   7   persons shall be removed from the deposition room at any time information
   8   relating to the Protected Documents or protected information is disclosed or
   9   discussed.
  10          10.    The Protected Documents shall be used solely in connection with the
  11   preparation and trial of this action, entitled A.I.P. et al. v. City of Santa Ana, et al.,
  12   bearing case number 8:19-CV-02212-JLS (JDEx), or any related appellate
  13   proceeding, and not for any other purpose, including, without limitation, any other
  14   litigation or administrative proceedings or any investigation related thereto.
  15          11.    This Order may not be modified unless by written consent of the
  16   parties and approval of the Court. Any party may move for a modification of this
  17   Order at any time. Upon receipt and review of the documents produced pursuant
  18   to this protective order, any party may move to remove the confidential
  19   designation of any document after meeting and conferring with opposing counsel
  20   and pursuant to the procedures governing discovery motions set forth in Local
  21   Rule 37.
  22          12.    This Order is made for the purpose of ensuring that the Protected
  23   Documents will remain confidential, unless otherwise ordered by the Court or in
  24   response to a successful motion by a party made pursuant to Paragraph 11.
  25          13.    At the conclusion of this litigation, upon request of defense counsel,
  26   plaintiff’s counsel shall return the Protected Documents to Jill Williams, Esq.,
  27   Carpenter, Rothans & Dumont, 500 S. Grand Avenue, 19th Floor, Los Angeles,
  28                                        -4-
            PROTECTIVE ORDER COVERING ORANGE COUNTY DISTRICT
             ATTORNEY’S OFFICE INVESTIGATIVE REPORT AND OTHER
                             INVESTIGATIVE MATERIALS
Case 8:19-cv-02212-JLS-JDE Document 51 Filed 10/02/20 Page 5 of 6 Page ID #:392




   1   California 90071. Alternatively, the receiving parties and every other person
   2   and/or entity who received originals or copies of the protected information may
   3   destroy all such material and material derived therefrom within 30 calendar days
   4   after the conclusion of this case. Additionally, within thirty 30 calendar days after
   5   the conclusion of this case, counsel for the receiving parties shall send a signed
   6   declaration stating that such material has been destroyed pursuant to this Protective
   7   Order.
   8         14.    Nothing in this Order shall be construed as authorizing a party to
   9   disobey a lawful subpoena issued in another action.
  10
  11                                      GOOD CAUSE
  12         The parties submit that GOOD CAUSE exists to enter the proposed
  13   protective order to balance the defendants’ concerns that the documents consist of
  14   police reports and private information concerning the parties to this litigation, as
  15   well as individuals who are not parties to this litigation, as protected by the official
  16   information privilege, law enforcement privilege and the right to privacy, as
  17   protected by the California and United States Constitution, with plaintiffs’ right to
  18   discovery in this litigation. The parties agree that all documents marked
  19   confidential and produced pursuant to this protective order are subject to the terms
  20   of this protective unless otherwise ordered by the Court.
  21         IT IS SO ORDERED.
  22
  23   DATED: October 2, 2020                  _________________________________
                                               JOHN D. EARLY
  24
                                               United States Magistrate Judge
  25
  26
  27
  28                                 -5-
             PROTECTIVE ORDER COVERING ORANGE COUNTY DISTRICT
              ATTORNEY’S OFFICE INVESTIGATIVE REPORT AND OTHER
                          INVESTIGATIVE MATERIALS
Case 8:19-cv-02212-JLS-JDE Document 51 Filed 10/02/20 Page 6 of 6 Page ID #:393




   1
   2                                       EXHIBIT A
   3            ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
   4
   5         I, _____________________________ [print or type full name], of
   6   _________________ [print or type full address], declare under penalty of perjury

   7   that I have read in its entirety and understand the Stipulated Protective Order that

   8   was issued by the United States District Court for the Central District of California
       on October 2, 2020, in the case of A.I.P. v. City of Santa Ana, et al., case number
   9
       19-cv-02212-JLS-JDE. I agree to comply with and to be bound by all the terms of
  10
       this Stipulated Protective Order and I understand and acknowledge that failure to
  11
       so comply could expose me to sanctions and punishment in the nature of contempt.
  12
             I solemnly promise that I will not disclose in any manner any information or
  13
       item that is subject to this Stipulated Protective Order to any person or entity
  14
       except in strict compliance with the provisions of this Order.
  15
             I further agree to submit to the jurisdiction of the United States District
  16
       Court for the Central District of California for the purpose of enforcing the terms
  17   of this Stipulated Protective Order, even if such enforcement proceedings occur
  18   after termination of this action. I hereby appoint __________________________
  19   [print or type full name] of __________________________________ [print or
  20   type full address and telephone number] as my California agent for service of
  21   process in connection with this action or any proceedings related to enforcement of
  22   this Stipulated Protective Order.
  23
  24   Date: ______________________________________
  25   City and State where sworn and signed: _________________________________
  26   Printed name: _______________________________
  27
  28                                 -6-
             PROTECTIVE ORDER COVERING ORANGE COUNTY DISTRICT
              ATTORNEY’S OFFICE INVESTIGATIVE REPORT AND OTHER
                          INVESTIGATIVE MATERIALS
